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 4
     Attorney for: JASPREET DHADDA
 5

 6                       IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                       )    No. CR-S-11-0077-01 WBS
                                                     )
10                       Plaintiff,                  )    STIPULATION AND
                                                     )    PROPOSED ORDER
11                                                   )    MODIFYING CONDITION
           vs.                                       )    OF PRETRIAL RELEASE
12                                                   )
                                                     )
13   JASPREET DHADDA,                                )
                                                     )
14                       Defendant.                  )
                                                     )
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16         On or about February 24, 2011 Defendant, JASPREET DHADDA, was
17   ordered as a condition of his pretrial release to participate in a residential treatment
18   program through The Effort as well as be placed on an ankle monitor during the
19   pendency of his pretrial release. Defendant has successfully completed this
20   program and continues in a variety of out-patient drug treatment programs with the
21   guidance of Pretrial Services. Defendant has also re-enrolled in his interrupted
22   college education program. Defendant has complied with his pretrial conditions to
23   the extent that the parties are now in agreement that he be relieved of the
24   requirement to be electronically monitored.
25         Therefore, Defendant JASPREET DHADDA, through his attorney, PETER
26   KMETO and, the United States of America, through its counsel of record, JASON
27   HITT, stipulate and agree that the Pretrial Release Conditions of Defendant,
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 1   JASPREET DHADDA, be modified to the extent that Defendant no longer be
 2   required to wear an electronic ankle monitor and be subject to electronic home
 3   supervision. Otherwise the previously imposed Conditions of Release are to
 4   continue to apply.
 5         IT IS SO STIPULATED.
 6   Dated:   February 1, 2012                     /s/ JASON HITT
                                                  Assistant U.S. Attorney
 7                                                for the Government
 8   Dated:   February 1, 2012                     /s/ PETER KMETO
                                                  Attorney for Defendant
 9                                                JASPREET DHADDA
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11                                        ORDER
12         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered
13   that Defendant’s Pretrial Release Conditions be modified as set forth above.
14   DATED: February 2, 2012
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